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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 NATIONAL EDUCATIONAL
 ASSOCIATION, et al.,

              Plaintiffs,

 v.                                                 Case No. 1:25-cv-00091-LM

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

              Defendants.


               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                        [ORAL ARGUMENT REQUESTED]

       Pursuant to Federal Rule of Civil Procedure 65 and Section 705 of the Administrative

Procedure Act, 5 U.S.C. § 705—and for the reasons stated in the accompanying memorandum,

declarations, and all pleadings filed—Plaintiffs National Education Association, National

Education Association-New Hampshire, and Center for Black Educator Development

(collectively, “Plaintiffs”) respectfully move this Court to preliminarily enjoin Defendants and

their agents, employees, representatives, successors, and any other person acting directly or

indirectly in concert with them, from enforcing and/or implementing the Dear Colleague Letter

issued on February 14, 2025, including through the February 28, 2025 “Frequently Asked

Questions About Racial Preferences and Stereotypes Under Title VI of the Civil Rights Act,” and

the End DEI Portal, pending the resolution of this action on its merits.

       Plaintiffs have filed an accompanying memorandum of law supporting this Motion.

Pursuant to Local Rule 7.1(d), Plaintiffs respectfully request oral argument given the importance

of the issues presented in this Motion.

       Plaintiffs also move this Court for an order waiving the requirement for bond or security.
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Dated: March 21, 2025                        Respectfully submitted,



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